       I have been informed by counsel that certain documents or information to be disclosed to me

in connection with the matter entitled ____________________________________________ have

been designated as confidential. I have been informed that any such document or information

labeled as “CONFIDENTIAL – PRODUCED PURSUANT TO PROTECTIVE ORDER” are

confidential by Order of the Court.

       Under penalty of contempt of Court, I hereby agree that I will not disclose any information

contained in such documents to any other person, and I further agree not to use any such information

for any purpose other than this litigation.



DATED: ____________________



____________________________

Signed in the presence of:



____________________________

(Attorney)




        Case 3:07-mc-00047-FDW Document 3-1 Filed 05/14/07 Page 1 of 1
